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October 22, 2024

VIA CM/ECF
Honorable Judge J. Paul Oetken
United States District Court
Southern District of New York
40 Foley Square - Courtroom 706
New York, NY 10007-1312

                        Re:    Velasquez v. New-Precise Beauty Supply LLC, et al
                               Case 1:24-cv-04465-JPO

Dear Judge Oetken:

        The undersigned represents the Plaintiff in the above-captioned case matter. Per Order [D.E.
9], Plaintiff is directed to notify the Court whether it intends to move for default judgment, or if it has
received any communication from Defendants or their counsel regarding a response to the complaint,
and to either file a status letter or move for default judgement.

        The date on the Affidavit of Service is the date a server delivers the Complaint and Summons
to the Department of State (“DOS”). Service by the DOS is done by Certified Mail. At this time,
service of process through the DOS is delayed or backlogged by 6 to 8 weeks. Though the Affidavits
of Service were filed on the docket. D.E. 7 and D.E. 8, we are not certain of reception, and the delay
in response may be attributed to the backlog with the DOS. Due to the delay and as no response was
forthcoming, the Plaintiff will be serving the Defendants again, through an independent process
server.

        The undersigned, therefore, respectfully requests the Court for an extension of time of 45 days
to allow Defendants to be able to be personally served and to appear in this matter.

       Thank you for your kind attention to this matter.

                                               Sincerely,

                                                By: /S/ B. Bradley Weitz            .
                                                    B. Bradley Weitz, Esq. (BW9365)
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